  Case 3:18-cv-03308-E Document 135 Filed 01/14/22                   Page 1 of 1 PageID 1318
                                                                                                 Eric Kolder
                                                                               Email: ekolder@rameyflock.com
                                                                                      Direct Dial: 903-510-5213




                                         January 14, 2022



VIA E-FILE:
US District Court for the Northern District of Texas
Dallas Division
1100 Commerce St # 1452
Dallas, TX 75242

       Re: Christopher Kelson, Dakota Kelson and Estate of Hirshcell Fletcher vs.
       City of Dallas, Firefighter Kyle Foster Clark, Firefighter Brad Alan Cox and
       Unknown Police Officers John and Jane Does 1-100; No. 3:18-CV-3308-L

Dear Clerk:

       Please be advised that I will be unavailable on the following dates for the following
reasons:

       April 25, 2022 through April 29, 2022 – Vacation
       October 10, 2022 through October 14, 2022 – Vacation

        I would request that no hearing, depositions, conferences, etc. be scheduled during
the dates outline above. By copy of this letter, I am advising all counsel of record of these
dates.

       Thank you for your attention to this matter.

                                                       Sincerely,




                                                       Eric Kolder
